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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                  CASE NO. 22-CV-22538-ALTMAN/Reid
      PIERCE ROBERTSON, et al., on behalf of
      themselves and all others similarly situated,

                        Plaintiffs,

      v.

      MARK CUBAN, et al.,

                        Defendants.
                                                       /

                JOINT MOTION FOR A SECOND 30-DAY STAY OF THE CASE

           Plaintiffs, PIERCE ROBERTSON, et al., and Defendants, MARK CUBAN and DALLAS

  BASKETBALL LIMITED d/b/a Dallas Mavericks (collectively “the Parties”), by and through their

  undersigned counsel, respectfully request the Court to enter a second 30-day stay of all activity in the

  case, and state as follows:

           1.     Plaintiffs filed this action on August 10, 2022 [ECF No. 1] and filed an Amended

  Complaint on October 28, 2022 [ECF No. 34].

           2.     Defendants filed a Motion to Dismiss on November 18, 2022 [ECF No. 41].

           3.     On December 7, 2022, the Court entered an Order [ECF No. 58] setting forth a trial

  and pre-trial schedule (the “Scheduling Order”). On February 8, 2023, the Court issued an Order

  [ECF No. 105] altering the deadlines set forth in the Scheduling Order, moving back the deadlines for

  the exchange of expert reports and rebuttal expert reports.

           4.     On January 1, 2023, the Court entered an Order [ECF No. 72] granting Plaintiffs’

  request to extend the deadline for responding to Defendants’ Motion to Dismiss and ordered that
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  “Plaintiffs shall either respond to the Defendants’ Motion to Dismiss [ECF No. 41] or file an

  Amended Complaint by February 24, 2023.”

          5.       On February 23, 2023, the Parties submitted a joint motion to stay all discovery,

  motions practice, and all other activity for 30 days. ECF No. 109. The Parties sought a 30-day

  extension of all discovery deadlines and the deadline for Plaintiffs’ class certification motion. That

  same day, the Court granted the joint request in full, ruling that:

          All discovery, motions practice, and all other activity in the case is stayed for thirty
          days. All discovery deadlines and the deadline for the Plaintiffs’ class certification
          motion are extended by thirty days. The Clerk of Court is directed to administratively
          close this case. All pending motions are DENIED without prejudice pending the
          reopening of the case.

  ECF No. 110.

          6.       The Parties now request that the Court stay all discovery, motion practice, and all other

  activity in this case for an additional 30 days. Likewise, the parties request the Court extend for 30

  days all discovery deadlines and the deadline for Plaintiffs’ class certification motion, as set forth in

  the Court’s December 7, 2022 Scheduling Order, as amended through the Court’s February 8, 2023

  Order [ECF No. 105], the January 1, 2023 Order [ECF No. 72], and the February 23, 2023 Order

  [ECF No. 110].

          7.       A 30-day extension of all deadlines set forth in the Scheduling Order will result in the

  following revised schedule:

               •   March 27, 2023 April 26, 2023 1 – Plaintiffs shall move to reopen the case and either
                   seek leave to file a second amended complaint or respond to Defendants’ Motion to
                   Dismiss.

               •   June 30, 2023 July 31, 2023 – The parties shall exchange expert witness summaries or
                   reports.




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   Where a thirty-day extension would result in a weekend or holiday deadline, the deadline would
  be set for the next business day following the weekend or holiday.

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             •   July 14, 2023 August 14, 2023 – The parties shall exchange rebuttal expert witness
                 summaries or reports.

             •   August 4, 2023 September 4, 2023 – All discovery, including expert discovery, shall be
                 completed.

             •   August 18, 2023 September 17, 2023 – Plaintiffs shall file a motion for class
                 certification.

         WHEREFORE the Parties respectfully request the Court to extend the stay of the case for an

  additional 30 days.

  Dated: March 27, 2023.                                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the forgoing was filed on March 27, 2023, with
  the Court via CM/ECF system, which will send notification of such filing to all attorneys of record.


                                                        By: /s/ Adam M. Moskowitz
                                                             Adam M. Moskowitz
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